                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA ex rel. )
JEFFREY H. LIEBMAN and DAVID M.  )
STERN, M.D.,                     )                          Civil Case No.: 3:17-cv-00902
                                 )
           Plaintiff,            )                          District Judge William L.
                                 )                          Campbell, Jr.
v.                               )
                                 )                          Magistrate Judge Barbara D.
METHODIST LE BONHEUR HEALTHCARE )                           Holmes
and METHODIST HEALTHCARE-MEMPHIS )
HOSPITALS,                       )
                                 )
           Defendants.           )

 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DEEM
CERTAIN FACTS UNDISPUTED FOR PURPOSES OF SUMMARY JUDGMENT AND
   TO STRIKE OR DISREGARD PORTIONS OF PLAINTIFF’S RESPONSE TO
     DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS

       The United States’ Response to Statement of Undisputed Material Facts in Support of

Defendants’ Motion for Summary Judgment (Dkt. No. 346, the “Response”) fails to comply with

both the Federal Rules of Civil Procedure and the Local Rules of this Court: the 227-page

document is impermissibly argumentative, non-responsive, speculative, and undermines the

purpose of the Court’s summary judgment guidelines. Pursuant to L.R. 56.01(b) and 56.01(c), a

party moving for summary judgment must submit a statement of undisputed material facts and the

non-moving party must respond directly to each fact “[i]n order to assist the Court in ascertaining

whether there are any material facts in dispute.” L.R. 56.01(b). The government’s Response defies

that purpose and asks the Court to deny summary judgment, not by disputing facts put forward by

Methodist and supported by evidence, but by interjecting argument or narrative in an effort to

“spin” the impact of the admissions it is required to make and by speaking past the asserted facts

without controverting them. Such a response violates both the Federal and Local Rules.

                                                1

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 1 of 20 PageID #: 12807
       Because Methodist’s factual statements are not properly disputed through specific citation

to admissible evidence, they should be deemed undisputed, and inappropriate portions of the

government’s Response should be struck or disregarded. See Fed. R. Civ. P. 56(e).

I.     Federal Rule 56 and Local Rule 56.01 Require the Non-Moving Party to Respond to
       Each Fact Directly with Specific Citation to Record Evidence.

       The Local Rules of the United States District Court for the Middle District of Tennessee

provide in relevant part as follows:

               Any party opposing the motion for summary judgment must respond
               to each fact set forth by the movant by either:
               (1) Agreeing that the fact is undisputed;
               (2) Agreeing that the fact is undisputed for purposes of ruling on the
               motion for summary judgment only; or
               (3) Demonstrating that the fact is disputed. Each disputed fact must
               be supported by specific citation to the record.

               . . . In addition, the non-movant’s response may contain a concise
               statement of any additional facts that the non-movant contends are
               material and as to which the non-movant contends there exists a
               genuine issue to be tried. Each such disputed fact shall be set forth
               in a separate, numbered paragraph with specific citation to the
               record supporting the contention that such fact is in dispute.

L.R. 56.01(c). “If a party fails to properly support an assertion of fact or fails to properly address

another party’s assertion of fact as required by Rule 56(c), the court may,” among other relief,

“consider the fact undisputed for purposes of the motion” or “issue any other appropriate order.”

Fed. R. Civ. P. 56(e). Where a statement of facts or a response to a statement of facts does not

comply with the Federal and Local Rules, district courts routinely consider facts undisputed for

purposes of summary judgment and/or strike or disregard portions of the statement or response.

See, e.g., Anderson v. McIntosh Constr., LLC, 2014 WL 2207924, at *1–2 & n.3 (M.D. Tenn. May

28, 2014), aff’d, 597 F. App’x 313 (6th Cir. 2015); Vaden v. Gap, Inc., 2007 WL 954256, at *1

(M.D. Tenn. Mar. 26, 2007); Artis v. Finishing Brands Holdings, Inc., 93 F. Supp. 3d 864, 869



                                                  2

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 2 of 20 PageID #: 12808
(W.D. Tenn. 2015), aff’d in part and rev’d in part on other grounds, 639 F. App’x 313 (6th Cir.

2016).

         Nowhere do the rules permit the non-moving party to “explain” or otherwise qualify its

admission or to argue the facts, which is exactly what the government does repeatedly throughout

its Response. Methodist’s Statement of Undisputed Material Facts (Dkt. No. 322, “SUMF”) is long

because the relevant time period spans seven years and the government’s theory of liability has

shifted continually throughout this litigation, but the SUMF contains a concise statement of

material facts relevant to the case pled by the government. See McLemore v. Gumucio, 619 F.

Supp. 3d 816, 821 (M.D. Tenn. 2021) (“[W]hen the Local Rule calls for a ‘concise’ statement of

fact, it is calling not necessarily for a statement of facts that is short or brief, but rather one that is

free from unnecessary detail and is as brief as (reasonably) feasible.”) (emphasis in original).

         The government had the option of either admitting those asserted facts or disputing them

with citations to the record. What the government cannot do under the Local Rules – but exactly

what it did – is obfuscate the asserted facts by interjecting argument or narrative in an effort to

“spin” the impact of the required admissions. Although the government purports to “dispute”

virtually every asserted fact, the government’s denials invariably speak past Methodist’s facts

without specifically controverting them, much less by providing specific citations to conflicting

factual evidence.

         This Court has recognized that such a response violates the Federal and Local Rules:

         [The plaintiff’s] response to the defendants’ cited fact violates both letter and intent
         of the federal and local rules: every word after “the Plaintiff agrees that this was
         Swallows’” testimony—which is what the defendants’ stated fact actually
         asserted—is unnecessary. If the plaintiff contends that the stated fact was not
         Swallows’ testimony, then she can “dispute” that fact with appropriate citation to
         the record. If the plaintiff instead believes that, although Swallows testified about
         Fact X, Fact X is actually disputed, the plaintiff can file a separate statement of
         disputed material facts in compliance with the rules. Moreover, the two paragraphs

                                                    3

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 3 of 20 PageID #: 12809
        of text, even on their merits, are inadequate: they contain numerous statements and
        characterizations of the evidence, generally without citation to the record.
        Responses like this, which permeate [the plaintiff’s] responsive submission,
        contain information that appears designed to distract from the core facts and issues
        in the case and do not further the responding party’s case in any meaningful way.

Anderson, 2014 WL 2207924, at *1 n.3 (emphasis in original). The Court’s summary may as well

be describing the government’s Response here. The same deficiencies permeate the Response, and

they require the same result: that the Response be struck or disregarded and that Methodist’s

statement of facts be deemed undisputed.

II.     The Government’s Response Violates Federal Rule 56 and Local Rule 56.01.

        The government’s Response seeks to dispute factual assertions by (1) responding with

statements that include no citation to the evidentiary record whatsoever; (2) offering non-

responsive facts that are in no way related to Methodist’s statement of fact; (3) offering legal

arguments or statements of the law; (4) asserting unsupported conclusions, characterizations, or

narrative statements of counsel; (5) purportedly disputing a fact because it “lacks specificity”; (6)

objecting that a fact is not supported by more or different evidence; (7) purportedly disputing but

then re-writing the same undisputed fact; and (8) raising unfounded hearsay objections. These

issues are systemic throughout the Response. To attempt to bring some organization to the

Response’s numerous deficiencies, Methodist identifies some specific examples of these

numerous issues below. They are only examples, however, as nearly every response in the

government’s 227-page filing contains one or more of these errors. 1




1
  Methodist does not mean to suggest that these are the only deficiencies in the Response. As
described in Section III, given the pervasiveness of the violations of Rule 56 and Local Rule 56.01,
and the fact that, in many instances, numerous violations occur within each individual response,
providing a full, item-by-item accounting of deficiencies would be unlikely to assist the Court. As
such, Methodist has detailed a set of responses that most clearly and most repeatedly violate the
Federal and Local Rules and therefore warrant the relief that Methodist seeks.
                                                 4

    Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 4 of 20 PageID #: 12810
         A. Responses with No Supporting Citation to the Factual Record

         In many responses, the government tries to dispute Methodist’s statement of fact with

argument instead of providing “specific citation to the record.” L.R. 56.01(c)(3). (E.g., Response

¶¶ 117, 179.)


 SUMF      Methodist Statement of Fact                      Unsupported Government Response
 ¶ 117 West physicians worked with                      There is no evidence as to which West
       Methodist to reallocate resources,               physicians engaged in such conduct or what
       such as physical therapy, art therapy,           the reallocation of resources refers to, let alone
       psychology and nutrition resources,              when or how such alleged work was done.
       specific to oncology service line                None of this demonstrates that it was work
       patients. (SUMF Ex. 2, Richey Decl.              done under the MSA.
       ¶ 12.)
                                                        Even if West physicians performed some of
                                                        the management services under the MSA, that
                                                        does not mean that Methodist did not pay West
                                                        for services that were not performed or for
                                                        services that were performed by individuals
                                                        that Methodist also paid for under the LEA.
                                                        Further, whether Methodist paid remuneration
                                                        to West under the MSA with an intent to
                                                        induce referrals in violation of the AKS is a
                                                        question for the jury to determine, and there is
                                                        ample evidence for a jury to do so.
 ¶ 179     The West physicians’ decisions were          As noted supra, there is sufficient evidence for
           “based on where [they] could be              a jury to conclude that Methodist’s payments
           assured that [their] patient got the         to West were made to induce referrals with the
           best care,” and as a result of the           requisite intent. Although the medical
           affiliation, West had more control           judgment of the West physicians is not at issue
           over the quality of the services being       in this case, but there is evidence that patients
           provided at Methodist. (SUMF Ex.             were referred to Methodist as a result of the
           55, Somer Dep. 235:12–20); (SUMF             affiliation.
           Ex. 54, Tauer Dep. 249:22–250:11);
           (SUMF Ex. 2, Richey Decl. ¶¶ 8, 17);
           (SUMF Ex. 1, Tillmanns Decl. ¶¶
           25–26); (SUMF Ex. 5, Berry Decl. ¶¶
           5, 7); (SUMF Ex. 4, Portnoy Decl. ¶
           18.)

(See also, e.g., id. ¶¶ 122, 147, 151, 152, 179, 188, 209, 210.) Any response from the government

that does not provide citation to record evidence should be struck, and those facts should be

                                                    5

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 5 of 20 PageID #: 12811
deemed undisputed. See Fed. R. Civ. P. 56(e); see also Artis, 93 F. Supp. 3d at 869 (“Upon review

of Artis’s responses, the Court finds paragraphs 31, 37, 42, 53–54, and 58 of Defendant’s SUMF

undisputed, for the purposes of this motion, because he failed to provide record citations to support

the disputed nature of these facts.”) (citing Fed. R. Civ. P. 56(e)); Vaden, 2007 WL 954256, at *1

(granting motion to strike responses to a statement of undisputed material fact where the

responding party failed to explain the basis for denying a fact and where responses lacked

supporting record citations).

       B. Non-Responsive Facts and Arguments Unrelated to the Statement of Fact at Issue

       Perhaps most pervasive is the government’s strategy of “spinning” or raising non-

responsive and irrelevant facts or arguments to “dispute” the fact at issue. For example, Methodist

cites to the factual record to support the fact that “Methodist is a $2 billion healthcare system.”

(SUMF ¶ 7.) In response, the government interjects a non-responsive, unsupported, and irrelevant

allegation that “[t]o the extent Methodist is a ‘$2 billion’ not-for-profit business, then it is

significant that . . . Methodist was not paying its employees a minimum wage of $15 per hour and

had been suing its employees and under or uninsured patients.” (Response ¶ 7.)

       Similarly, Methodist provides evidentiary support to establish that it paid leased employees

during the affiliation “on a pass-through basis, meaning West was not paid any additional fees

above the salary and benefit amounts that went directly to these non-clinical employees.” (SUMF

¶ 56.) In response, the government asserts in part that “Methodist appears to have paid for the

holiday party for West and other random expenses that relate to personnel.” (Response ¶ 56.)

       In yet another example, Methodist provides sworn statements from physicians and

executives who have practiced oncology in Memphis for years prior to 2012, testifying that

because of a lack of integration during that time, patients often had to travel across the city to



                                                 6

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 6 of 20 PageID #: 12812
receive treatment from different providers. (SUMF ¶ 2.) The government responds with the non-

responsive and unsupported argument that “[t]here is no admissible evidence that cancer care in

Memphis has become less integrated since 2012” and that West “relocated its principal place of

business” in 2015, concluding, without citation to any record evidence: “Thus, there is less access

to cancer care in Memphis following Methodist’s transaction with West.” (Response ¶ 2 (emphasis

omitted)); (see also id. ¶¶ 142, 189.)

 SUMF     Methodist Statement of Fact           Non-Responsive Government Argument
 ¶ 142 ECG provided its original fair- ECG provided to Jones Day a draft fair market
       market value opinion in 2011. value opinion, dated October 5, 2011, that
       (SUMF Ex. 21, 2011 ECG FMV.)           purported to address terns of the proposed
                                              PSA. ECF No. 323-21. The United States
                                              disputes that this opinion is reliable. See
                                              generally ECF No. 328-1.
 ¶ 189 After the affiliation, West physicians West physicians may continue to refer patients
       have continued to refer patients to to        Methodist     because      of    insurance
       Methodist       based     on     their requirements that necessitate that the patient be
       professional judgment of their treated at Methodist or because it is the most
       patients’ best interests. (SUMF Ex. convenient or closest hospital for the patient.
       Berry Decl. ¶ 16); (Tillmanns Decl. ¶ ECF No. 323-11. The United States has never
       25); (Ballo Decl. ¶ 28); (Portnoy contended that West did not refer any patients
       Decl. ¶ 19); (Richey Decl. ¶ 29); to Methodist either before or after the
       (Somer Dep. 234:4–24.)                 affiliation, but that is not relevant to whether
                                              Methodist paid West remuneration with an
                                              intent to induce referrals in violation of the
                                              AKS.

       This tactic is especially acute in the government’s response to a series of facts regarding

West’s management of Methodist’s oncology service line. Because the government alleged that

the Management Services Agreement (“MSA”) was a sham, Methodist’s SUMF includes

numerous facts regarding the services performed by West and the positive impact on cancer care

those services effected. (SUMF ¶¶ 106–131.) The government developed no proof calling into

question the underlying services or the results obtained, so has instead argued that improved cancer

care is not relevant. Yet, instead of acknowledging these facts as undisputed—as it must where it


                                                 7

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 7 of 20 PageID #: 12813
can cite no proof to the contrary—the government still disputes paragraph after paragraph based

solely on unsupported argument of counsel.

        For example, citing to sworn testimony from West physician Dr. Michael Berry, Methodist

asserted that “West physicians ‘spent a significant amount of time’ working to integrate the various

providers and entities, including regularly providing input to Methodist regarding how the health

system could better treat patients and develop a comprehensive service line.” (SUMF ¶ 106.) The

government responded by arguing that Dr. Berry does not reference specific West physicians,

including Drs. Schwartzberg and Tauer, West did not keep documentation of work performed, and

much of this work would have been done in connection with treating patients. (Response ¶ 106.)

The government then argues that even if West physicians “performed some of the management

services under the MSA,” that still would not mean that Methodist did not pay West for other

services not performed. (Id.) The government provides no factual citation for any of those claims,

yet still asserts that Methodist’s statement of fact is disputed. (See also id. ¶ 153.)

 SUMF          Methodist Statement of Fact               Non-Responsive Government Argument
 ¶ 153      The parties’ affiliation improved          As the United States responded supra, there is
            cancer care. (SUMF Ex. 1, Tillmanns        no evidence in the record that the parties’
            Decl. ¶¶ 25–27); (SUMF Ex. 4,              affiliation broadly improved cancer care.
            Portnoy Decl. ¶ 18); (SUMF Ex. 2,          Even if cancer care improved in the Memphis
            Richey Decl. ¶ 8); (SUMF Ex. 3,            area during this time period, there are myriad
            Ballo Decl. ¶ 27.)                         factors that could have impacted cancer care,
                                                       including breakthroughs in research,
                                                       treatment options, and population makeup. To
                                                       determine whether there are improvements in
                                                       cancer care, there should be measured
                                                       metrics, which Methodist does not point to in
                                                       support of this generalized statement.
                                                       Methodist’s CHNAs, however, do not
                                                       demonstrate that cancer care was improved.
                                                       Sweet Decl., Exs.1 (2013 CHNA), 5 (2016
                                                       CHNA), and 6 (2019 CHNA).




                                                   8

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 8 of 20 PageID #: 12814
       Responding to the SUMF with unsupported, argumentative, and even inflammatory

statements that do not respond directly to the statement of fact asserted does not comport with Rule

56 or Local Rule 56.01. Such statements should be struck from the Response or disregarded, and

those statements of fact by Methodist should be deemed undisputed for purposes of summary

judgment. See Vaden, 2007 WL 954256, at *1; Blount v. D. Canale Beverages, Inc., 2003 WL

23412034, at *1 (W.D. Tenn. Nov. 12, 2003) (“[A]ny of Blount’s responses to D. Canale’s

Statement of Undisputed Material Facts that are incomplete or non-responsive to the actual

undisputed fact alleged will be deemed undisputed for purposes of this motion.”).

       C. Legal Arguments and Statements of the Law

       Many of the government’s responses contain legal arguments or statements of law, some

of which include legal citation. (See, e.g., Response ¶ 9.) Other responses refer generally to a

separate motion that the government has filed and purport to “refer[] to and incorporate[] those

arguments herein.” (Id. ¶ 1.) “[T]o the extent that a statement is a statement of law, it simply does

not belong in a statement of material facts.” McLemore, 619 F. Supp. 3d at 821 (emphasis in

original). That is true both for stand-alone statements of law and for legal arguments the

government purports to incorporate into its Response. All such legal statements and arguments

should be struck from the Response. See Vaden, 2007 WL 954256, at *1.

 SUMF     Methodist Statement of Fact                       Government Legal Argument
 ¶9   Before 2012, cancer care at Methodist          Even if Methodist had a purpose of entering
      lacked standardized order sets or              into the affiliation with West to improve its
      protocols for tracking tumor types;            ability to provide cancer care, that does not
      patient-specific   treatment    plans;         insulate it from liability if it also had a
      standardized     discharge    criteria;        purpose of paying West kickbacks to induce
      inpatient chemo order sets; end-of-life        West’s referrals. “If the government proves
      or palliative care tracking; dedicated         that one of the purposes of the alleged
      oncology inpatient unit or tumor board         payments was to induce referrals or for the
      for its Germantown Hospital; and               arranging for referrals of Medicare patients,
      sufficiently     capable      surgical         that is sufficient.” United States v. Davis,
      oncologists. (SUMF Ex. 34, PwC                 Case No. 3:18-cr-00077 (M.D. Tenn. 2018)

                                                 9

 Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 9 of 20 PageID #: 12815
           Baseline Assessment at 16, 26);           (Campbell, J.), ECF No. 232 Trial Tr. 155:5-
           (SUMF Ex. 49, Deposition of Chris         13.
           McLean Volume I (“McLean Dep.
           Vol. I”) 146:4–148:4.)
 ¶1        Prior to 2012, cancer care in Memphis     Whether Methodist may have entered into a
           was severely disjointed and suffered      relationship with West to improve cancer
           from a lack of collaboration between      care does not detract from whether that
           providers. (SUMF Ex. 1, Declaration       relationship was in violation of the AKS.
           of Todd Tillmanns, MD (“Tillmanns         SEES, 570 F. Supp.3d at 578. The United
           Decl.”) ¶ 5); (SUMF Ex. 2, Declaration    States already has filed a motion to preclude
           of Sylvia Richey, MD (“Richey             Methodist from offering evidence of patient
           Decl.”) ¶ 7); (SUMF Ex. 3, Declaration    outcomes, which is sub judice. ECF No. 308.
           of Matthew Ballo, MD (“Ballo Decl.”)      The United States refers to and incorporates
           ¶ 7); (SUMF Ex. 4, Declaration of         those arguments herein.
           David Portnoy, MD “Portnoy Decl.”) ¶
           6); (SUMF Ex. 5, Declaration of
           Michael Berry, MD (“Berry Decl.”) ¶
           5); (SUMF Ex. 51, Deposition of
           Michael Ugwueke (“Ugwueke Dep.”)
           26:21–26:23); (SUMF Ex. 50,
           Deposition of Gary Shorb (“Shorb
           Dep.”) 19:19–23); (SUMF Ex. 53,
           Deposition of Lee Schwartzberg
           (“Schwartzberg     Dep.”)      167:17–
           168:16.)

       D. Asserting Unsupported Conclusions, Characterization, or Narrative Statements

       Many of the government’s responses to Methodist’s SUMF contain extended argument,

characterization, and narrative statements by counsel that do not properly address Methodist’s

statement of fact and often are unsupported by specific citation to the factual record. For example,

Methodist asserts that “[b]eyond the initial valuations, the parties also had the PSA and MSA

revalued by independent third-party valuators throughout the course of the affiliation.” (SUMF

¶ 76.) The government’s response states that the fact is disputed and then provides three pages of

argument, characterization, and additional purported facts, entire paragraphs of which contain no

citation at all. (Response ¶ 76.)




                                                10

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 10 of 20 PageID #: 12816
SUMF    Methodist Statement of Fact                     Government Narrative
¶ 76 Beyond the initial valuations, the      The parties did not have the agreements
     parties also had the PSA and MSA        “revalued” – let alone by “independent”
     revalued by independent third-party     valuators. Methodist and West obtained
     valuators throughout the course of      preliminary analyses and draft opinions from
     the affiliation. (E.g., SUMF Ex. 27,    HAI and Altegra in 2014, and from Pinnacle in
     Email with Altegra FMV); (SUMF          2016 and 2017 that referenced the MSA.
     Ex. 28, 2016 Pinnacle FMV);             However, none of the valuators made any effort
     (SUMF Ex. 30, 2017 Pinnacle             to determine whether West had been paid for
     FMV); (SUMF Ex. 22, 2016 ECG            performing services at all the locations under
     FMV); (SUMF Ex. 22, 2016 ECG            the MSA, and the valuators had no knowledge
     Rad Onc FMV.)                           that Methodist was paying the salaries of many
                                             of the West employees who were seemingly
                                             doing management tasks, as they were leased
                                             to Methodist under the LEA.

                                             In mid-2014, when West wanted to be paid
                                             more money, as Methodist was seeing more
                                             referrals and 340B Program savings than the
                                             parties had anticipated in 2011, Erich Mounce,
                                             wearing a dual hat as the CEO of West and an
                                             employee of Methodist, in opinion shopping to
                                             obtain the highest amount that Methodist could
                                             pay West under the MSA. Mr. Mounce initially
                                             sought an opinion from HAI, but HAI began to
                                             question West about the increase in revenues
                                             two years in and sought more specifics about
                                             the work performed and the new performance
                                             incentives. Mr. Mounce then engaged Altegra
                                             to provide another opinion. Altegra did not ask
                                             the same questions and came in about $1
                                             million more than HAI’s preliminary analysis.
                                             Methodist and West utilized the Altegra
                                             numbers for 2014 and 2015, and of course went
                                             with the highest end of the range in Altegra’s
                                             opinion. Mr. Mounce advised the Operating
                                             Committee that the difference between HAI
                                             and Altegra was based on more having more
                                             significant performance incentives that West
                                             could earn. However, Altegra never set forth
                                             any detailed incentives, as reflected in its
                                             opinion. Rather, it was HAI that had been
                                             requesting more detailed metrics and would
                                             need those to provide a higher range of
                                             compensation, and absent that indicated it
                                             might lower the range in its preliminary

                                            11

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 11 of 20 PageID #: 12817
                                                analysis. Sweet Decl., Ex. 34 (Ulery email to
                                                Mounce of 04/10/2014); Ex. 35 (Operations
                                                Committee Meeting Minutes of 06/04/2014);
                                                ECF No. 323-27. Of course, the higher the total
                                                range, the more West received automatically
                                                from Methodist, as 60% of the total was
                                                allocated for Base Management Services under
                                                the MSA, which Methodist paid West without
                                                any question, as discussed herein.

                                                Further, the revenues that the valuators
                                                considered after the initial 2012 draft valuation
                                                HAI provided were based on information
                                                provided by Methodist, through Mr. Mounce
                                                and West CFO Ron Davis, another individual
                                                who fell under the LEA. These revenues
                                                included Methodist hospital locations such as
                                                Le Bonheur, which was expressly excluded
                                                from the MSA, as well as other locations that
                                                were never made a part of the MSA, such as the
                                                Olive Branch hospital and the Wolf River, as
                                                reflected for example on the first page of
                                                Pinnacle’s 2016 valuation. ECF Nos. 323-12
                                                and 323-28. These revenues were sent to the
                                                valuators because West expected to be paid on
                                                the basis of its referrals for both outpatient and
                                                inpatient services based on the revenues
                                                generated by West providers, as reflected in the
                                                materials that Methodist’s leased employees
                                                provided to the valuators, which is discussed in
                                                more detail infra. Thus, the valuators
                                                essentially were determining how much West
                                                should be paid for managing its own patients,
                                                and the revenues were a significant factor, as
                                                reflected in each of the valuations. A jury can
                                                certainly conclude that there is ample evidence
                                                that the purported independent fair market
                                                value opinions for the MSA were manipulated
                                                with Methodist’s knowledge in terms of the
                                                revenue provided to compensate West based on
                                                the volume or value of its referrals to
                                                Methodist.

       The response to this factual statement about obtaining revaluations contains argument

ranging from the parties’ finances to whether the valuators audited West’s performance under the


                                              12

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 12 of 20 PageID #: 12818
MSA to the volume of West’s referrals to management services performed under the MSA to

payments made under the Leased Employee Agreement (“LEA”)—nearly all of which is provided

with no citation to any record evidence. (Id.) Such responses do not comport with Rule 56 or L.R.

56.01 and should be struck from the government’s Response. See Vaden, 2007 WL 954256, at *1.

       E. Disputes Based on Lack of Specificity

       The government disputes many of Methodist’s facts because they are not “sufficiently

specific.” That a fact could have been stated in a different, arguably more specific way does not

provide grounds for disputing an otherwise correct and properly supported fact. For example, the

government disputes Methodist’s statement that it “operated numerous acute care hospitals”

because the word “‘numerous’ . . . is not accurate,” and states that Methodist should have named

each of the seven specific acute care facilities it operated. (Response ¶ 8.) The government also

disputes Methodist’s statement that the West practice included “nearly thirty doctors in various

specialties” because it “lacks specificity,” and states that Methodist should have stated that West

had twenty-eight doctors, including “sixteen medical oncologists, four gynecological oncologists,

four breast surgeons, and four radiologist/interventional radiologists.” (Id. ¶ 13.)

       Restating Methodist’s otherwise correct facts with greater specificity does not create a

genuine issue of material fact for purposes of summary judgment and frustrates the purpose of

aiding the Court in determining what facts are truly disputed. Under that approach, Methodist

could state that there are seven days in a week, and the government would dispute that fact if each

day was not named individually. Attempting to dispute facts in this manner violates both the letter

and intent of Rule 56 and L.R. 56.01, which are “designed to assist the court in identifying record

evidence that establishes a genuine dispute of material fact.” Anderson, 2014 WL 2207924, at *2.




                                                 13

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 13 of 20 PageID #: 12819
       F. Objections that a Fact is Not Supported by More or Different Documentary
          Evidence

       The government repeatedly disputes facts that are supported by sworn testimony because

the fact is not also supported by a document produced in discovery. As the moving party,

Methodist is not required to cite every piece of evidence produced in the case that supports a

particular fact—just sufficient evidence to establish that fact. If the government contends that the

fact is in dispute, it must provide its own citation to conflicting record evidence, but it consistently

fails to do so in violation of the Federal and Local Rules. (E.g. Response ¶¶ 41, 51, 83.)

 SUMF      Methodist Statement of Fact                     Government Sufficiency Arguments
 ¶ 41 Upon obtaining a fair market value               [T]here is no evidence concerning any
      range, the parties would negotiate               negotiations.   There    are    no   email
      payment amounts within that range, in            communications that have been produced
      reliance on the valuators’ opinions.             that show Methodist and West ever
      (SUMF Ex. 47, Mounce Dep. 443:15-                negotiated the amount of payment for base
      24; 444:8-14; 605:24-606:9); (SUMF               management services under the MSA or the
      Ex. 50, Shorb Dep. 118:7-10, 131:25-             total amount that could be attached for the
      1322); (SUMF Ex. 49, McLean Dep.                 performance incentive compensation.
      Vol. I 264:15-17.)
 ¶ 51 Methodist       engaged        HORNE             The engagement letter is the best evidence of
      Healthcare Service to conduct a                  what Methodist engaged Horne to do, but
      valuation of fixed assets, leasehold             Methodist does not refer to this document as
      improvements, and inventory at the               the support for this statement. The United
      West locations to be converted to                States objects to the support provided on the
      Cancer Center Sites. (SUMF Ex. 31,               basis the best evidence for its terms. FED. R.
      2011 Horne FMV.) The parties agreed              EVID. 1002.
      that Methodist would pay West—and
      indeed, Methodist did pay West—the
      amount Horne determined to be fair
      market value for those assets it valued.
      (SUMF Ex. 56, McLean Dep. Vol. II
      147:17–21.)
 ¶ 83 Drs. Schwartzberg and Tauer also                 Methodist did not present the best evidence
      attended Methodist’s board meetings,             of such attendance, which would be reflected
      Friday Strategy Meetings, and Kitchen            in the meeting minutes for the duration of the
      Cabinet Meetings, among others.                  entire seven years.
      (SUMF Ex. 47, Mounce Dep. 448:8–
      22, 532:8–20); (SUMF Ex. 54, Tauer
      Dep. 43:9–44:10); (SUMF Ex. 53,
      Schwartzberg Dep. 184:23–185:24.)

                                                  14

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 14 of 20 PageID #: 12820
         The government cannot create a genuine dispute of fact by arguing that the fact could be

supported by more or different evidence. Such responses should be struck from the government’s

Response or disregarded, and those facts in Methodist’s SUMF should be deemed undisputed for

purposes of summary judgment.

         G. Disputing and Re-Writing the Same Statement of Fact

         The government consistently “disputes” Methodist’s facts only to re-write them with the

government’s own language, characterizations, or argument. (See e.g., Response ¶¶ 133, 138, 174,

211.)

 SUMF      Methodist Statement of Fact                      Government Re-Statement
 ¶ 133 In 2012 and in 2013, Methodist paid           Methodist paid West $3,007,620 for the 2012
       West Clinic less than $3,255,000              management fee, and $3,230,588 for the
       under the MSA. (SUMF Ex. 7,                   2013 management fee.
       McLean Decl. ¶ 11.)
 ¶ 138 In late 2017, Pinnacle Healthcare             On September 13, 2017, Pinnacle provided a
       Consulting issued a fair-market value         fair market value opinion that listed a range
       opinion of the services provided under        “from $3.68 million to $5.09 million per
       the MSA, which provided a fair-               year.” ECF No. 323-30.
       market value range of up to
       $5,090,000. (SUMF Ex. 7, McLean
       Decl. ¶ 16); (SUMF Ex. 30, 2017
       Pinnacle FMV.)
 ¶ 174 Before the affiliation, many West             Before the affiliation, West sent the majority
       physicians were already sending their         of its patients who needed in-patient care to
       patients to Methodist. (See e.g., SUMF        Baptist and was closely aligned with Baptist
       Ex. 4, Portnoy Decl. ¶ 19.)                   for pathology needs. ECF No. 323-34 at 24,
                                                     30. The United States does not contend that
                                                     West did not send any patients to Methodist
                                                     before the affiliation.
 ¶ 211     The government produced two expert        For these reasons, the United States did not
           witnesses, both whom expressly            put forth any opinions on what the fair market
           disclaimed that they were opining on      value would be for the services under the
           the fair-market value of any alleged      various agreements.
           remuneration in the case. (SUMF Ex.
           63, Smith Expert Dep. 56:17–25,
           59:15–24); (SUMF Ex. 62, Expert
           Deposition of Lucy Carter (“Carter
           Expert Dep.”) 51:5–9.)

                                                15

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 15 of 20 PageID #: 12821
       Clearly, no genuine dispute exists as to those facts. By consistently attempting to

manufacture disputes where none exist, the government failed to respond to many of Methodist’s

facts in good faith and has wasted both the parties’ and the Court’s valuable time and resources in

the process. All such manufactured disputes should be struck from the government’s Response or

disregarded, and the facts should be deemed undisputed.

       H. Unsupported Hearsay Objections

       The government’s Response raises more than 165 hearsay objections in response to the

record cites that Methodist provides to support its SUMF. Those objections consistently are raised

against sworn deposition or declaration testimony obtained from Methodist and third-party

witnesses with personal knowledge of the facts on which they are testifying. The government’s

general approach appears to be that if it does not like or agree with a particular fact or piece of

testimony, it objects to it as hearsay. (See e.g., Response ¶¶ 10, 11, 14, 43, 53, 69, 84, 94.) For

example, in SUMF ¶ 115, Methodist asserts that the management services provided by West

physicians included dedicating significant time and attention to modernizing Methodist’s facilities

and equipment, including working with vendors, submitting plans for equipment, meeting with

architects, and dealing with payors to obtain reimbursement for the use of advanced equipment.

(SUMF ¶ 115.) As support, Methodist cited to sworn testimony from Drs. Ballo, Richey, Berry,

and Tillmanns, who are all West physicians who testified to their personal involvement with

improving Methodist’s facilities and equipment. (Id.) The government provides no basis for its

response that this is “inadmissible hearsay testimony.” (Response ¶ 115.)

       The government’s numerous hearsay objections to sworn statements are unfounded, not

made in good faith, and should be struck from the government’s Response.




                                                16

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 16 of 20 PageID #: 12822
III.   The Errors Permeate the Government’s Response.

       The examples provided herein are just that—examples. The government’s violations of the

Federal and Local Rules are so numerous that neither Methodist nor the Court should be required

to scour the 227-page Response to identify each and every deficiency. Nearly every one of the

government’s responses contains some combination of the identified deficiencies.

       Take SUMF ¶ 115 for example. As noted above, this paragraph provides that the West

physicians dedicated significant time and attention to modernizing Methodist’s facilities and

equipment and lists several specific examples from sworn statements of West physicians. (SUMF

¶ 115.) In response, as it does more than 165 times, the government raises an unsupported objection

that those sworn statements from West physicians constitute “inadmissible hearsay testimony.”

(Response ¶ 115.) The government also purports to dispute that fact because there is no other

evidence “beyond those whose declarations were submitted” about the time and efforts devoted

by West physicians to modernizing Methodist facilities. (Id.) The government then raises several

other “facts” that are not responsive and do not dispute the fact stated in ¶ 115, including that the

Cancer Council was not tasked with oversight of the MSA, that any work performed by the West

physicians “continued to be for the benefit of West,” and that West “engaged in conduct in

furtherance of the Expansion Plan attached to the PSA.” (Id.) In addition, the government provides

its unsupported opinion about the credibility of the sworn testimony, saying “[i]t is doubtful that

West physicians . . . engaged in conduct to improve physical space.” (Id.) The government then

provides its own conclusions and legal arguments, saying “[e]ven if West physicians performed

some of the management services under the MSA, that does not mean that Methodist did not pay

West for services that were not performed or for services that were performed by individuals that

Methodist also paid for under the LEA. Further, whether Methodist paid remuneration to West



                                                 17

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 17 of 20 PageID #: 12823
under the MSA with an intent to induce referrals in violation of the AKS is a question for the jury

to determine, and there is ample evidence for a jury to do so.” (Id.)

        Thus, in response to just one fact supported by sworn testimony, the government offers

unfounded evidentiary objections, statements of other “facts” not related to the fact at issue,

unfounded characterization of the credibility of Methodist’s cited evidence, and unsupported legal

arguments and conclusions—all without citation to any admissible evidence that the West

physicians did not dedicate significant time and attention to modernizing Methodist’s facilities. As

this Court said in Anderson, “Responses like this, which permeate [the plaintiff’s] responsive

submission, contain information that appears designed to distract from the core facts and issues in

the case and do not further the responding party’s case in any meaningful way.” 2014 WL 2207924,

at *1 n.3.

                                         CONCLUSION

        The government’s Response ignores its obligation under the Federal and Local Rules to

admit the asserted fact, admit it for purposes of summary judgment only, or dispute it with citation

to the record. Instead, it repeatedly attempts to obfuscate the asserted facts by interjecting

argument, narrative, or unfounded objections to argue its own side of the case, to manufacture

factual disputes where none exist, and to “spin” or downplay the effect that its admissions

otherwise would have. This method of responding violates both the letter and intent of the Federal

Rules and Local Rules and undermines the process intended to aid the Court in narrowing the

issues and focusing its analysis. Allowing a party to respond to a SUMF in this fashion would

establish a dangerous and almost unworkable precedent. Because the government has failed to

comply with the Federal and Local Rules, the Court should strike or disregard the government’s

Response and deem Methodist’s asserted facts undisputed for purposes of summary judgment.



                                                 18

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 18 of 20 PageID #: 12824
                                          Respectfully submitted,

                                          /s/ Brian D. Roark
                                          Brian D. Roark
                                          J. Taylor Chenery
                                          Taylor M. Sample
                                          Hannah E. Webber
                                          BASS, BERRY & SIMS PLC
                                          150 Third Avenue South, Suite 2800
                                          Nashville, TN 37201
                                          Telephone (615) 742-6200
                                          Facsimile (615) 742-6293
                                          broark@bassberry.com
                                          tchenery@bassberry.com
                                          taylor.sample@bassberry.com
                                          hannah.webber@bassberry.com

                                          Robert S. Salcido
                                          (Admitted Pro Hac Vice)
                                          Akin Gump Strauss Hauer & Feld LLP
                                          2001 K Street, N.W.
                                          Washington, DC 20006
                                          (202) 887-4095
                                          rsalcido@akingump.com

                                          Attorneys for Defendants Methodist Le
                                          Bonheur Healthcare and Methodist
                                          Healthcare-Memphis Hospitals




                                     19

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 19 of 20 PageID #: 12825
                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been served on the following
counsel via the Court’s CM/ECF email notification system on this the 2nd day of June, 2023:

 Bryan A. Vroon                                      Jerry E. Martin
 Law Offices of Bryan A. Vroon, LLC                  Seth Marcus Hyatt
 1766 West Paces Ferry Road                          Barrett Johnston Martin & Garrison, LLC
 Atlanta, GA 30327                                   Philips Plaza
 (404) 441-9806                                      414 Union Street, Suite 900
 bryanvroon@gmail.com                                Nashville, TN 37219
                                                     (615) 244-2202
                                                     jmartin@barrettjohnston.com
                                                     shyatt@barrettjohnston.com

 Edward D. Robertson, Jr.                            Kara F. Sweet
 Bartimus Frickleton Robertson Rader PC              Wynn M. Shuford
 109 B East High Street                              Ellen B. McIntyre
 Jefferson City, MO 65101                            U.S. Attorney’s Office
 (573) 659-4454                                      Middle District of Tennessee
 crobertson@bflawfirm.com                            719 Church Street
                                                     Suite 330
                                                     Nashville, TN 37203
                                                     (615) 401-6598
                                                     kara.sweet@usdoj.gov
                                                     wynn.shuford@usdoj.gov
                                                     ellen.bowden2@usdoj.gov




                                                             /s/ Brian D. Roark




                                                20

Case 3:17-cv-00902 Document 397 Filed 06/02/23 Page 20 of 20 PageID #: 12826
